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             EXHIBIT 3
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                                                        PATENT ASSIGNMENT
11                                                                                                                    11


Electronic Version v1 .1
Stylesheet Version v1 .1


 I SUBMISSION TYPE:                                   NEW ASSIGNMENT
                                                 II                                                                   I
 I NATURE OF CONVEYANCE:                         II   ASSIGNMENT
                                                                                                                      I
     CONVEYING PARTY DATA


                                                 Name                                       II   Execution Date
     !Adrian Burian                                                                         1109/05/2006
     IMarkku Vehvilainen                                                                    1109/05/2006
     IJari A. Kangas                                                                        1109/05/2006


     RECEIVING PARTY DATA


     IName:                IINokia Corporation                                                                    I
     !street Address:      IIKeilalahdentie 4                                                                     I
     icity:                IIEspoo
     Istate/Country:       IIFINLAND                                                                              I
     !Postal Code:         1102150


     PROPERTY NUMBERS Total: 1
                                                                                                                           ~



     I          Property Type

     IApplication Number:
                                         II
                                         1111462152
                                                                             Number
                                                                                                                  I
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                                                                                                                      i
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     CORRESPONDENCE DATA

                                                                                                                       -.
     Fax Number:                 (704)444-1111
                                                                                                                      ■
     Correspondence will be sent via US Mail when the fax attempt is unsuccessful.
     Phone:                      704-444-1069
     Email:                      nmcpartland@alston.com
     Correspondent Name:         Alston & Bird LLP
     Address Line 1:             Bank of America Plaza
     Address Line 2:             101 South Tryon Street, Suite 4000
     Address Line 4:             Charlotte, NORTH CAROLINA 28280-4000


 I ATTORNEY DOCKET NUMBER:                       II   042933/313925
                                                                                                                      I
 I NAME OF SUBMITTER:                            II   Chad L. Thorson, Reg. #55,675
                                                                                                                      I
     Total Attachments: 2
     source=Assignment-313925#page1 .tif
                                                                                               PATENT
          500160434                                                                   REEL: 018349 FRAME: 0399
                    Case 6:20-cv-00580-ADA Document 120-1 Filed 08/08/22 Page 3 of 5
II sou rce=Assig nment-313925#page2 .tif
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                                                                         PATENT
                                                                REEL: 018349 FRAME: 0400
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                                             ASSIGNMENT

         THIS ASSIGNMENT, made by us, Adrian Bwian, residing at Kotkansiivenkatu 2Al 0,
33720 Tampere, Finland; Markku Vehvilainen, residing at Velholehdenkatu 17, 33720 Tampere,
Finland; and Jari A. Kangas, residing at Yliopistonkatu 46 B 31, 33100 Tampere, Finland,
respectively;
        WITNESSETH: That,
        WHEREAS, we are the joint inventors of certain new and useful improvements in
METHOD, APPARATUS, AND COMPUTER PROGRAM PRODUCT FOR PROVIDING
A CAMERA BARCODE READER for which an application for United States Letters Patent
has been filed in the United States Patent and Trademark Office on August 3, 2006, under
Applic~ti,on No. 11/462,152; and
        \,
        WHEREAS, NOKIA CORPORATION, a Finland corporatio~}!,a~ing a p~~ipal place of
                                                                             ~ J,.J?;Jj, .,.►. .. ' " 1.,.·.   )c   ~
business at Keilalahdentie 4, FIN-02150 Espoo, Finland, hereinafter referred to as a,gsignee, is
desirous of acquiring the entire right, title and interest in and to said invention as described in
said application, and in and to any and all Letters Patent which shall be granted therefor in the
United States of America and all foreign countries;
        NOW, THEREFORE, To Whom It May Concern, be it known that for good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, we have sold and by
these presents do hereby sell, assign, transfer, and convey unto the said assignee, its successors
and assigns, the entire right, title, and interest
                                               ...,
                                                    in. andJo
                                                           ·,.
                                                                the said invention and application, and in
                                                               .t

and to any and all continuations, con\iliuitf{jnS:in"-'part,"or divisions thereof, and in and to any and
all Letters Patent of the United States ofAmerica and ·all foreign countries or reissues,
reexaminations, or extensions thereof which may be granted therefor or thereon, for the full end
of the tenn for which said Letters Patent may be granted, together with the right to claim the
priority of said application in all foreign countries in accordance with the International
Convention, the same to be held and enjoyed by said assignee, its successors and assigns, as fully
and entirely as the same would have been held and enjoyed by us if this assignment and sale had
not been made.
        We hereby request that said Letters Patent be issued in accordance with this assignment.




                                                                                  PATENT
                                                                         REEL: 018349 FRAME: 0401
          Case 6:20-cv-00580-ADA Document 120-1 Filed 08/08/22 Page 5 of 5




                We further covenant and agree that, at the time of the execution and delivery of these
      presents, we possess full title to the invention and application above-mentioned, and that we have
      the unencumbered right and authority to make this assignment.
               We further covenant, and agree to bind our heirs, legal representatives, and assigns,
      promptly to communicate to said assignee or its representatives any facts known to us relating to
      said invention, to testify in any interference or legal proceedings involving said invention, to
      execute any additional papers which may be requested to confirm the right of the assignee, its
      representatives, successors, or assigns to secure patent or similar protection for the said invention
      in all countries and to vest in the assignee complete title to the said invention and Letters Patent,
      without further compensation, but at the expense of said assignee, its successors, assigns, and
      other legal representatives.
               IN WITNESS WHEREOF, we have hereunto set our hands and seals on this __            S-___
      day or      Se.121-t~ ~. •2006.
                      I




                                                     Markku Vehvilainen




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                                                                                    PATENT
RECORDED: 10/05/2006                                                       REEL: 018349 FRAME: 0402
